Case 6:15-cv-06008-SOH Document 77              Filed 09/28/16 Page 1 of 1 PageID #: 2406



                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                HOT SPRINGS DIVISION

WILLIAM GIRLINGHOUSE, et al.                                                      PLAINTIFFS

v.                                  Case No. 6:15-cv-6008

CAPELLA HEALTHCARE, et al.                                                      DEFENDANTS


                                         JUDGMENT

       Before the Court is Defendants’ Motion for Summary Judgment.             (ECF No. 47).

Plaintiffs have filed a response. (ECF No. 52). Defendants have filed a reply. (ECF No. 55).

Plaintiffs have filed a sur-reply. (ECF No. 59). Defendants have filed a response to Plaintiffs’

sur-reply. (ECF No. 61). The Court finds this matter ripe for consideration.

       For the reasons set forth in the Memorandum Opinion of even date, the Court finds that

Defendants’ Motion for Summary Judgment (ECF No. 47) should be and hereby is GRANTED.

Plaintiffs’ case is hereby DISMISSED WITH PREJUDICE.

       IT IS SO ORDERED, this 28th day of September, 2016.


                                                           /s/ Susan O. Hickey
                                                           Susan O. Hickey
                                                           United States District Judge
